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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-8805-GW(JPRx)                                           Date      June 28, 2018
 Title             Clay Murray, et al. v. County of Santa Barbara, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                       Aaron J. Fischer                            Amber R. Holderness, by telephone
                       Richard B. Diaz
                      Jennifer T. Stewart
 PROCEEDINGS:                   SCHEDULING CONFERENCE


Court and counsel confer. Pursuant to the request of counsel, the above-entitled action is STAYED until
January 10, 2019 pending settlement. Counsel are to provide joint status reports as indicated on the
record.




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                                                               Initials of Preparer   JG
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